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                                        ORDERED.
 Dated: August 09, 2024




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION
                                     flmb.uscourts.gov

In re:
                                                               Case No.: 3:24-bk-00496-BAJ
Genie Investments NV, Inc.
                                                               Chapter 11
         Debtor
                                                       /

             ORDER (I) GRANTING UNITED STATES TRUSTEE’S SECOND
            MOTION TO APPOINT CHAPTER 11 TRUSTEE, DISMISS CASE,
         OR CONVERT TO CHAPTER 7; (II) DIRECTING CLERK TO CONVERT
            CASE TO CHAPTER 7; AND (III) ORDERING RELATED RELIEF

         THIS CASE came before the Court on August 8, 2024, upon the United States Trustee’s

Second Motion to Appoint Chapter 11 Trustee, Dismiss Case, or Convert to Chapter 7 (“Motion”;

Doc. No. 154), and the debtor’s objections thereto (Doc. Nos. 182 and 188). For the reasons stated

in Open Court, the Court now Orders the following.

         1.       The Motion is GRANTED.

         2.       The Clerk is directed to convert this case to a case under chapter 7.

         3.       All persons who were formerly in control of the assets of the debtor or the

bankruptcy estate are directed not to move or otherwise transfer any assets of the debtor or the

bankruptcy estate, regardless of where or by what entity those assets are presently held.

         4.       Debtor’s counsel is directed to retain any assets of the bankruptcy estate held in
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his trust account until further order of the Court. For the avoidance of doubt, the Court finds no

malfeasance on the part of debtor’s counsel.

         5.        The examiner appointed to this case, Maria Yip, is DISCHARGED.

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Copies to (Service by BNC): All creditors and parties in interest,
